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 7
           IN THE UNITED STATES DISTRICT COURT FOR THE
 8                EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,
                                             NO. 2:07-CR-00570 FCD
10
               Plaintiff,
                                              STIPULATION AND ORDER
11
         v.
12
     TARSEM SINGH,
13
               Defendant.
14

15

16        The defendant, through undersigned counsel, and the United

17   States, through its undersigned counsel, agree and stipulate

18   that the status conference hearing currently scheduled for

19   Monday, November 2, 2009, at 9:30 a.m. should be vacated and

     continued until Monday, November 16, 2009, at 10:00 a.m. for
20
     status conference.
21
          The continuance is necessary so as not to waste the
22
     resources required to travel to Sacramento on the current
23
     scheduled date of the status conference as Mr. Tarsem Singh is
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 1   scheduled to enter a plea of guilty on November 16, 2009 at

 2   10:00 A.M. and so that counsel for Mr. Singh may meet with and

 3   advise his client as he lives outside of the Eastern District

 4   of California and as far as Whatcom County, Washington (a

 5   Canadian border county).

 6           The parties further agree and stipulate that time should

 7   be excluded under the Speedy Trial Act due to needs of counsel

 8   to prepare [local code T4] up to and including November 16,

 9   2009.

10

11   Dated: October 30th, 2009

12                                                                  TARSEM SINGH
                                                                       Defendant
13
                                                        By:/s/ John R. Crowley
                                                               JOHN R. CROWLEY
14
                                                         Counsel for Defendant
     Dated: October 30th, 2009
15
                                                                      Prosecutor
16
                                                         By:/s/ Heiko Coppola
17
                                                                Heiko Coppola
                                                   Asst. US District Attorney
18

19   IT IS SO ORDERED.
20   Dated:     October 30, 2009
21
                                           _______________________________________
22                                         FRANK C. DAMRELL, JR.
                                           UNITED STATES DISTRICT JUDGE
23
